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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                        Criminal No. 15-86(2)(DSD/TNL)

United States of America,

                   Plaintiff,

v.                                                                    ORDER

Ornella Angelina Hammerschmidt

                   Defendant.



       This    matter   is    before     the    court      upon   defendant     Ornella

Hammerschmidt’s motion to reconsider her application to proceed in

forma pauperis (IFP) on appeal. Although she failed to do so in her

initial      application,      defendant       has   now    submitted     a    complete

application more fully stating her income, assets, and liabilities.

Based on the motion and new application, and pursuant to Federal

Rule    of    Appellate      Procedure    24(a)(3),        the    court   finds      that

defendant is financially eligible to proceed IFP.

       Even if a defendant is found to be indigent, however, IFP

status will be denied if the court finds that the litigant’s appeal

is not taken in “good faith.”            28 U.S.C. § 1915(a)(3).              Good faith

in this context is judged by an objective standard and not by the

subjective beliefs of the appellant.                 Coppedge v. United States,

369 U.S. 438, 444-45 (1962).              To determine whether an appeal is

taken in good faith, the court must decide whether the claims to be

decided on appeal are factually or legally frivolous.                     Id. at 445.

An appeal is frivolous, and therefore cannot be taken in good
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faith, “where it lacks an arguable basis either in law or in fact.”

Neitzke v. Williams, 490 U.S. 319, 325 (1989).

     Although the court remains fully satisfied that defendant’s

sentence was appropriate and supported by the law, her appeal is

not frivolous as that term has been defined by the Supreme Court.

As a result, the appeal is considered to be taken in good faith for

purposes of § 1915.

     Accordingly, IT IS HEREBY ORDERED that:

     1.   The motion to reconsider [ECF No. 179] is granted; and

     2.   The application to proceed in forma pauperis on appeal

[ECF No. 178] is granted.



Dated: December 13, 2016

                                       s/David S. Doty
                                       David S. Doty, Judge
                                       United States District Court




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